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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION
                                  www.flmb.uscourts.gov

In re:

 Genie Investments NV, Inc.,                         Case No.: 3:24−bk−00496−BAJ

 Debtor.                                             Chapter 11
 __________________________________ /

                   UNITED STATES TRUSTEE’S EXHIBIT LIST (Part I)
     Trial on Motion to Appoint Chapter 11 Trustee, or, in the Alternative, Appoint Examiner,
                 Dismiss Case, or Convert Case to Chapter 7 (Document No. 20)
                             Trial Date: April 9, 2024, at 9:00 a.m.

 Exh. Document Description                                     Date       Date     With or
 No.                                                           Identified Admitted Without
                                                                                   Objection
 1       Docket for Case No. 3:24-bk-00496-BAJ
 2       Voluntary Petition (Doc. No. 1)
 3       U.S. Trustee’s Expedited Motion to Appoint
         Chapter 11 Trustee, or, in the Alternative, Appoint
         an Examiner, Dismiss This Case, or Convert This
         Case to Chapter 7 (Doc. No. 20)
 4       Debtor’s Response to U.S. Trustee’s Expedited
         Motion to Appoint Chapter 11 Trustee, or, in the
         Alternative, Appoint an Examiner, Dismiss This
         Case, or Convert Case to Chapter 7 (Doc. No. 34)
 5       U.S. Trustee’s Reply to Debtor’s Response to
         Expedited Motion to Appoint Chapter 11 Trustee,
         Appoint Examiner, Dismiss Case or Convert to
         Chapter 7 (Doc. No. 38)
 6       Statement of Small Business Owner, Kristin
         Stegent (Rolling By the Dozen RV Park, LLC)
 7       Stegent: $7,900 Wire Transfer
 8       Stegent: Due Diligence Fee Agreement signed &
         Wire Instructions to Genie
 9       Stegent: $35,000 Due Diligence Wire Transfer
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10   Stegent: Bridge Loan Agreement signed
11   Stegent: $26,805 Prepaid Interest & Zoomeral
     Fees Wired
12   Stegent: BELOC Agreement
13   Stegent: Email with David Hughes re public post
14   Stegent: Email with David Hughes re breach
15   Stegent: Email with McMann re the status of the
     BELOC loan closing
16   Stegent: Email with David Hughes re countersuit
17   Stegent: Genie’s Cease & Desist Demand Letter
18   Stegent: Genie’s Refund Opt-In Agreement
19   Stegent: Email with Genie’s counsel re service of
     Genie Arbitration Complaint
20   Stegent: Email with Genie’s counsel re arbitration
21   Stegent: Genie’s JAMS Arbitration Demand
22   Stegent: Email with Genie’s counsel re postings
23   Stegent: Email with JAMS re extension for
     Arbitration Objection
24   Stegent: Genie’s email re removal of posts to
     agree to extension
25   Stegent: Genie email to remove online reviews
26   Stegent: Objections to Arbitration
27   Stegent: Genie’s email to JAMS re motion for
     summary judgment filing
28   Statement of Small Business Owner, Charles
     Blake Stringer (Nutra-Acres, LLC)
29   Stringer: Email with Application, Business Plan,
     and BELOC timeline
30   Stringer: Emails re BELOC timeline
31   Stringer: Due Diligence Fee Agreement & Wiring
     Instructions


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32   Stringer: Email re BELOC Loan Agreement &
     Bridge Loan Agreement
33   Stringer: Email attaching Due Diligence Fee
     Agreement and Bridge Loan Agreement
34   Stringer: Signed Bridge Loan Agreement
35   Stringer: Email with notarized signature on the
     Bridge Loan Agreement with Genie
36   Stringer: McMann Wiring Instructions to Genie’s
     account for BELOC Loan Agreement
37   Stringer: Email with David at Zoomeral attaching
     signed Bridge Loan Agreement
38   Stringer: Email attaching Nutra-Acres Demand
     Letter to McMann and Genie
39   Stringer: McMann BELOC loan funding update
     and Nutra-Acres email response
40   Stringer: McMann termination letter of BELOC
     with Nutra-Acres
41   Stringer: Email re unable to refund $115k wire
42   Stringer: Email re unable to refund $245k wire
43   Stringer: Genie’s Cease & Desist Letter
44   Stringer: Genie’s email re update on Due Diligence
     & Bridge Interest Payments
45   Stringer: Genie email re Refund Opt-In
46   Stringer: Nutra-Acres Commercial Demand for
     Arbitration to AAA
47   Stringer: Genie email serving Cease & Desist
     Letter re defamation, Arbitration Complaint,
     signed Due Diligence Agreement
48   Stringer: Genie email re Nutra-Acres Response to
     Objections
49   Stringer: Genie email re arbitration attorney
50   Stringer: AAA email re submission by 11/16/23
51   Stringer: Nutra-Acres Objection to Arbitration

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52   Stringer: EM from AAA Closing Arbitration




                                      BY: ______________________________
                                            Deputy Clerk




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